Case 3:21-cv-00043-FM Document 14. Filed 08/17/21 Page 1 of1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

SYMBOLOGY INNOVATIONS,
LLC

Plaintiff,
EP-21-CV-00043-FM

vy.

CARDINAL HEALTH, INC.,

5G) CGR CGR GOP 66D GG UG? OGD OP Oo

Defendant.

ORDER TO SHOW_CAUSE

On May. 24, 2021, the court entered “Order to Submit Dismissal Documents”
[ECF No. 13]. Therein, the court ordered the parties to submit dismissal documents by Monday,
June 28, 2021. ' The record reflects that neither Plaintiff Symbology Innovations, LLC nor
Defendant Cardinal Health, Inc. has filed dismissal documents. Accordingly, it is HEREBY
ORDERED that the parties SHOW CAUSE as to the status of the above-captioned cause or

submit dismissal documents no later than Tuesday, August 31, 2021.

SIGNED AND ENTERED this fy day of August 2021, -

sol. [/)

FRANK MONTALVO
UNITED STATES DISTRICT JUDGE

1“Order to Submit Dismissal Documents” 1, ECF No. 12, entered May 24, 2021,
]

